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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA



      v.                                       21-78 (RCL)




JOHN SULLIVAN

             MOTION FOR RELEASE PENDING SENTENCING

      Defendant, by and through undersigned counsel, does hereby seek

release from detention pending sentencing. In support thereof, defendant

respectfully sets forth as follows:

      1. On November 16, 2023 defendant was found guilty of a number of

criminal offenses arising from the events at the United States Capitol on

January 6, 2021. A sentencing date has not yet been set. The Court ruled

that defendant should be held pending sentencing.

      2. Throughout the pretrial proceedings, for over 2.5 years, defendant

remained on his own personal recognizance. He resides in Utah with his

mother and father and has been compliant with the conditions of his pretrial

release.




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      3. The trial testimony was consistent. Defendant did not make

physical contact with any person near or in the United States Capitol on

January 6, 2021.

      4. Defendant is not a risk of flight as he has a verified address, his

mother attended every day of the trial proceedings, he resides with his

mother and father in Utah and he does not have any available resources.

Defendant appeared at every scheduled court appearance during the

course of the pretrial proceedings via ZOOM and personally appeared in

court throughout the trial proceedings.

      5. If deemed necessary, defendant’s access to electronic media can

be limited to when he is in the office of the Utah Probation Department.

      6. Defendant will reside, if released, at the same address in Utah

where he resided prior to trial with his parents.

      7. Defendant’s parents can appear via ZOOM to respond to any

inquiries the Court may have concerning conditions of his release pending

sentencing. Defendant does not have any objection to wearing a GPS

device or the imposition of other reasonable conditions of pre-sentence

release.

      8. Defendant relies upon the discretionary powers of this Honorable

Court in seeking the relief requested herein.



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     WHEREFORE, the foregoing considered, defendant prays this

Honorable Court for release from detention pending sentencing.



                                   Respectfully submitted,


                                   ______/s/___________________
                                   Steven R. Kiersh#323329
                                   5335 Wisconsin Avenue, N.W.
                                   Suite 440
                                   Washington, D.C. 20015
                                   (202) 347-0200

                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and accurate copy of the foregoing
was served, via the Court’s electronic filing system, upon all counsel of
record on this the 28th day of November, 2023.



                                   _______/s/__________________
                                   Steven R. Kiersh




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